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            EXHIBIT B-20
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                                 UNDER SEAL

                             DCCA No. 22-BS-0059

                         DISTRICT OF COLUMBIA
                           COURT OF APPEALS

_______________________________
In the Matter of                    :
                                    :
JEFFREY B. CLARK, ESQUIRE :                 Disciplinary Docket No. 2021-D193
                                    :
      Respondent,                   :
                                    :
A Member of the Bar of the District :
  of Columbia Court of Appeals.     :
Bar Number: 455315                  :
Date of Admission: July 7, 1997     :
_______________________________:

           DISCIPLINARY COUNSEL’S OPPOSITON TO
      RESPONDENT’S CROSS-MOTION TO STAY PROCEEDINGS
     BEFORE THE BOARD ON PROFESSIONAL RESPONSIBILITY
             PENDING RESOLUTION IN THIS COURT

      From the outset of this investigation, delay has been Respondent’s consistent

strategy. In October 2021, Disciplinary Counsel received a well-documented and

detailed report (with accompanying documentary evidence and deposition

transcripts) from the Senate Judiciary Committee majority, which set out

Respondent’s misconduct. Disciplinary Counsel docketed an investigation and sent

the report to Respondent and asked for a response. As set forth more fully in

Disciplinary Counsel’s pleadings filed in connection with the Motion to Enforce

Subpoena Duces Tecum, Respondent delayed for months filing a response, as he was
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obligated to do, to the initial inquiry. D.C. Rules of Professional Conduct 8.1(b) and

8.4(d); Rule XI, § 8(a); Board Rule 2.8. After receiving a subpoena for documents,

served on him electronically because of the pandemic, and without having

previously objected to this service, in January 2022, Respondent demanded personal

service. After that was accomplished, he again challenged whether service had been

properly made because a notation of time of service, meant for the return copy, was

not included on his copy of the subpoena. (It was because of this insistence on

personal service that Disciplinary Counsel engaged a process server to serve the

Specification of Charges rather than serving counsel.) Respondent also refused to

comply with the subpoena, primarily on Fifth Amendment grounds, even though the

Fifth Amendment applies to testimony, not documents. Disciplinary Counsel then

filed its Motion to Enforce on February 3, 2022.

      Disciplinary Counsel did not cease its investigation while the issue of

enforcing the subpoena was under submission to this Court. While the subpoenaed

documents would undoubtedly strengthen its case, Disciplinary Counsel concluded

that there was sufficient evidence to go forward even if the documents were not

produced. Disciplinary Counsel submitted a Specification of Charges for contact

member approval (disclosing the pending subpoena enforcement litigation before

this Court) and after having obtained that approval, filed and served it upon

Respondent in July 2022. Over Disciplinary Counsel’s objection, Respondent



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obtained an extension of time to answer the charges from August 11 until September

1, 2022. Respondent’s counsel, represented to the Hearing Committee that they had

insufficient time to answer—admit or deny—a simple Specification of Charges of

less than nine pages. Yet by the same date on which that answer was due, August

11, they found time to file a 12-page pleading with this Court and an eight-page

pleading with the Board entitled "Sealed Response to the Board’s August 8th Sealing

Order Including a Call for Affirmative Relief and Incorporated Motion to Seal.”

This was in addition to their Motion for Extension of Time and the Reply in support

thereof based on their lack of time to write an answer. The pleadings requesting an

extension suggested that when the answer is due, Respondent might not file one but

rather “other responsive pleadings.” (In response to Disciplinary Counsel’s noting

this contingency, the Hearing Committee’s Order explicitly directed Respondent to

file an answer by September 1.)

      The instant motion is part of the same strategy of delay. It is premised on a

fundamental misstatement of the nature of disciplinary proceedings—sometimes

referring to them as actions brought by a “local bar association” and assuming that

the Board on Professional Responsibility is an independent tribunal rather than an

agency of this Court. From this faulty premise, Respondent analogizes this case to

cases where the same issue is simultaneously raised in a trial and an appellate court.

In fact, what is pending before this Court is a motion to enforce a subpoena to



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produce evidence for use in a proceeding before the agency of the Court, which this

Court has designated to hear disciplinary matters, but which lacks the authority to

enforce a subpoena. Rule XI, § 18(d); Board Rule 3.14. The merits of this case are

not before this Court—indeed have not yet been litigated.            The subpoena

enforcement litigation is an ancillary proceeding that does not concern and will not

resolve the merits. Disciplinary Counsel has made the determination that, while it

would help to have all the available evidence in Respondent’s possession, it has

sufficient evidence to proceed even if its motion were denied. This ancillary

proceeding should not be an excuse to delay this matter further.

      1. Two Tribunals Are Not Considering the Merits of the Same Matter.

      Respondent relies on cases that stand for the general proposition that two

courts should not be hearing the same issue at the same time. That is not what is

happening here. To practice in the District of Columbia, a lawyer must be admitted

to the Bar of this Court, and this Court has exclusive jurisdiction over disciplinary

matters relating to members of its Bar. Appellate courts are not finders of fact,

however, and so the Court has created an agency, the Board on Professional

Responsibility, and a set of procedures, Rule XI, to perform the fact-finding aspect

of the disciplinary process.    The fact-finding proceeding, however, is not a

proceeding before the “local bar association,” a separate tribunal, or an independent

agency. It is proceeding before this Court. Every pleading before a hearing



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committee or the Board is filed with a caption that includes “District of Columbia

Court of Appeals.” But the Board has no authority to enforce a subpoena. See Board

Rule 3.14. It can direct a respondent to comply, but only this Court can issue an

enforceable order. In short, the enforcement litigation is ancillary to, and in support

of, the Court’s disciplinary process. An imperfect analogy might be to a court that

appoints a special master to oversee the discovery process in a complicated

litigation. Discovery matters might be litigated before the special master at the same

time substantive motions are heard by the court. But all the matters are part of the

same proceeding before the same court.

      For this reason, the cases collected in Stebbins v. Stebbins, 673 A.2d 184 (D.C.

1996), on which Respondent relies, are not on point. Those cases, all involving the

appeal of a trial court’s decision, address the concern that two courts would rule on

the same issue at the same time. For example, in Carter v. Cathedral Ave. Corp.,

532 A.2d 681 (D.C. 1987), an appellant filed a motion to amend a judgment in the

Superior Court and then noted an appeal to this Court before that motion was ruled

upon. This Court held the appeal was premature because all the relevant issues had

not been resolved by the trial court. In Morfessis v. Hollywood Credit Clothing Co.,

163 A.2d 825 (D.C. 1960), the losing party in a libel action noted an appeal, and

then asked the trial court to vacate the judgment and grant a new trial. This Court

held that the trial court lacked jurisdiction to rule on this issue because the appeal



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had been perfected before the trial court had acted. The obvious concern in all the

cases collected in Stebbins is that the action of the trial court might decide an issue

that would change the record on which the appellate court was relying, possibly

mooting the appeal or making the result inconsistent with the record. This Court

cannot rule on the legality of a judgment when the trial court is reconsidering it. An

issue on appeal cannot be a moving target, but that issue does not exist here. For

one thing, only one court is involved. More importantly, there is no appeal pending

before this Court and no danger that a hearing committee will make a

recommendation about the enforceability of the subpoena.

      As Respondent concedes, the cases collected in Stebbins do not impose an

absolute jurisdictional barrier, even in cases in which two courts are involved

simultaneously with the same case, where there is no danger of confusion or waste

of time and where it is expedient for both courts to rule. That is also the case here.

While Disciplinary Counsel would prefer to gather all relevant evidence in

Respondent’s possession, it is well-prepared to move forward with its case even if

the Court should decline to enforce the subpoena. Thus, there is no reason to freeze

the proceedings before the Hearing Committee because of the pendency of this

evidentiary issue. The proceedings will be litigated at some point regardless of how

this Court rules on the subpoena enforcement. Pausing them now results not in

efficiency, but only in delay—which is precisely Respondent’s goal.



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      Finally, Respondent’s argument that Disciplinary Counsel’s position has

evolved on the exclusive jurisdiction of this Court is a distortion of that position.

There are two potential procedural routes to resolve a contested subpoena in

disciplinary matters. Disciplinary Counsel may seek to have the subpoena enforced

by this Court pursuant to Rule XI, § 18(d). Alternatively, a respondent may apply to

the Board for a motion to quash pursuant to Rule XI, § 18(c). Disciplinary Counsel

elected to follow the first course and filed its Motion to Enforce. After that occurred,

Respondent filed a “Lodged Protective Motion to Quash” with the Board.

Disciplinary Counsel then filed a Motion to Strike, in which it argued, inter alia, that

the Board (or any hearing committee to which the Board might refer the issue) had

no jurisdiction since enforcement of the subpoena was before the Court. This is

precisely the rationale that this Court follows in the cases collected in the Stebbins

opinion and on which Respondent relies in this motion. Respondent now concedes

that Disciplinary Counsel was correct in moving to strike his motion to quash. But

at the time the enforcement pleadings were filed, there was no Specification of

Charges, and Disciplinary Counsel was not addressing the question of whether those

charges could proceed to be litigated while an ancillary evidentiary issue was under

submission before the Court.




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      2. Respondent Should Not be Permitted to Litigate His Case Initially Before
         this Court.

      Respondent’s primary argument in opposition to the Motion to Enforce is a

Fifth Amendment claim over the production of documents. He fails to even mention

this argument in his Motion to Stay; the argument that the act of producing these

documents would incriminate him—even if accepted—would present no obstacle to

conducting a hearing on the Specification of Charges without the missing evidence.

Instead, he asserts the secondary, far-fetched—in fact, frivolous—arguments as to

why no case should be brought against him.

      For example, Respondent wants this Court to rule that “Rule 8.4 is not violated

(or even implicated) when a senior Justice Department attorney proposes a policy

position in a draft letter and circulates it for discussion . . . [and when] that policy

proposal is rejected after those discussions and the draft letter never goes out.”

Cross-Motion to Stay at 9. But the Specification of Charges is not based on an

inchoate proposal. What Respondent omits from the argument is that he had no

personal involvement in the investigation of election fraud when he drafted his letter,

and the Justice Department lawyer who supervised nationally all those investigations

told him that his factual statements about the existence of such fraud in Georgia were

untrue. The Acting Attorney General then arranged for Respondent to speak to the

United States Attorney who had conducted the election fraud investigations in

Georgia—even providing Respondent with the U.S. Attorney’s personal cell phone

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number—but Respondent did not do so. Nevertheless, Respondent persisted in his

efforts to send a letter that he knew contained false statements of fact, and when the

Acting Attorney General and his deputy declined again to do so, threatened to have

them fired by the President if they would not send the letter. When they still refused,

Respondent attempted to have the President remove the Acting Attorney General

and appoint him based upon his promise to send the letter containing falsehoods. In

short, Respondent persisted in his efforts to send the letter, with all its potential

consequences for the integrity of a Presidential election and the stability of the nation

to whose Constitution he had sworn an oath, after he knew it was based on false

statements of fact. He also used coercive methods in an attempt to bring about this

result. These are the allegations Disciplinary Counsel intends to prove. Of course,

they require an evidentiary hearing and the presentation of evidence, and they cannot

be resolved on a motion filed with this Court and without any fact-finding.

      An opposition to a motion to enforce a subpoena is not the procedural vehicle

for a motion to dismiss. Nor should this Court entertain such motions at the outset

of disciplinary proceedings. Were the Court to do that, then proceedings that are

already too protracted would inevitably begin with some sort of motion to dismiss,

filed before this Court along with an application to stay the proceedings until the

motion was resolved. Instead, the procedure is to raise such issues in a motion to

the hearing committee, which makes a recommendation on them to the Board, after



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it has heard the evidence, made findings of fact, and issued a report and

recommendation. Rule XI, § 5(c); Board Rule 7.16(a).

       As to Respondent’s arguments that this Court lacks jurisdiction over the

members of its Bar who work for the Department of Justice, he cites not a single

supportive case and ignores the fact that this Court has exercised disciplinary

authority over lawyers so employed before. See In re Howes, 52 A.3d 1 (D.C. 2012);

In re Kline, 113 A.3d 202 (D.C. 2015); In re Dobbie & Taylor (BPR Jan. 13, 2021)

(pending before DCCA). See also In re Abrams, 689 A.2d 6 (D.C. 1997) (Assistant

Secretary of State for Inter–American Affairs); In re Berger, 927 A.2d 1032 (D.C.

2007) (National Security Advisor); In re Sofaer, 728 A.2d 625 (D.C. 1999) (Legal

Advisor to U.S. State Department). But these issues should be litigated in the normal

fashion following the normal procedure, not as an interlocutory matter.

      3. These Proceedings are Public and the Sealing Order Should be Lifted.

      Finally, all these pleadings should be unsealed now that the charges are public,

and all proceedings going forward must be a matter of public record. Since 1995, it

has been the rule in this jurisdiction that “[a]ll proceedings before the Hearing

Committee and the Board shall be open to the public, and the petition, together with

any exhibits introduced into evidence, any pleadings filed by the parties, and the

transcript of the proceeding, shall be available for public inspection.” Rule XI, §

17(a). The Court adopted this rule following the ABA’s 1992 Lawyer Regulation



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for a New Century: Report of the Commission on Evaluation of Disciplinary

Enforcement, sometimes referred to as the “McKay Report.” The McKay Report

recommended that disciplinary proceedings be public because “secrecy in discipline

proceedings continues to be the greatest single source of public distrust of lawyer

disciplinary systems.”    Id., Recommendation 7.        The D.C. Bar appointed a

Disciplinary System Review Committee, which came to the same conclusion in

order “to foster more confidence that [the] system is operating fairly and that lawyers

who commit ethical violations are indeed dealt with appropriately.” Report to the

Board of Governors of the D.C. Bar on Changes in the Disciplinary System, 63 (Feb.

1993). The Court adopted this recommendation and made all matters public once a

specification of charges was filed. Order, 94-M-190 (Nov. 10, 1994). This change

to the Rules “reflects a judgment by the court in favor of general openness of

disciplinary proceedings.” In re Dunietz, 687 A.2d 206, 211 (D.C. 1996).

      Respondent suggests that § 17(a) provides that the Court has discretion to

order all proceedings to remain sealed even after charges have been filed. Cross-

Motion to Stay at 12. He justifies doing so in this case because of the possibility of

trying this case in the press or of coordinating filings with the January 6 Committee.

However, Respondent cannot show a single instance of any conduct by Disciplinary

Counsel that would constitute trying his case in the press. Disciplinary Counsel has

a standing arrangement with several news organizations that cover the legal



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profession to provide them copies of all public specifications of charges once they

have been filed and served, which occurred here. As to the January 6 Committee,

there has been no coordination between the Committee and Disciplinary Counsel.

Respondent points to the fact that one of the Committee’s hearings occurred the day

after a process server sought unsuccessfully to serve Respondent. The serving of a

specification of charges is controlled by when a contact member approves the

charges, after which they are given to a process server, who generally attempts to

serve them within a few days. The Committee was given no advance notice that the

Specification of Charges in this matter had been approved or had been sent out for

service on Respondent. (Nor was the Senate Judiciary Committee, whose report

initiated this investigation.) Disciplinary Counsel has communicated with the

January 6 Committee to ascertain when the Committee intends to make public its

evidence and depositions (not included in the transcripts of the public hearings) and

has been told that this will occur sometime in the Fall.         There has been no

coordination, and Respondent has no factual basis for contending to the contrary.

      This would be a terrible case for the Court, for the first time, to order that a

disciplinary matter be tried under seal. Respondent was a senior official in the

Department of Justice—a presidential appointee—as his motion points out. There

is substantial public interest in his case. To try this case in a Star Chamber

proceeding would substantially undermine public confidence in the fairness of the



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disciplinary process. There cannot be special treatment of the powerful and the

privileged. The Court should not only summarily reject such a suggestion but should

also immediately lift the sealing order and make proceedings in this matter public.

Respectfully submitted,

                                      Hamilton P. Fox, III
                                      ______________________________
                                      Hamilton P. Fox, III
                                      Disciplinary Counsel
                                      Bar Registration No. 113050

                                      /s/ Jason R. Horrell
                                      Jason R. Horrell
                                      Assistant Disciplinary Counsel
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                        CERTIFICATE OF SERVICE

      I hereby certify that on this 15th day of August 2022, I caused a copy of the

foregoing Disciplinary Counsel’s Opposition to Respondent’s Motion to Stay

Proceedings to be served on the Board of Professional Responsibility c/o Case

Managers to casemanagers@dcbpr.org and to Respondent’s counsels via email to

Harry W. MacDougald, Esquire, to hmacdougald@CCEDlaw.com, to Charles

Burnham, Esquire, to charles@burnhamgorokhov.com, and Robert A. Destro,

Esquire, to Robert.destro@protonmail.com.


                                             Hamilton P. Fox, III
                                             ______________________________
                                             Hamilton P. Fox, III




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